           Case 9:18-cr-00023-DLC Document 16 Filed 07/24/18 Page 1 of 4



CYNDEE L. PETERSON
Assistant U.S. Attorney
U.S. Attorney’s Office
P.O. Box 8329
Missoula, Montana 59807
105 E. Pine, 2nd Floor
Missoula, Montana 59802
Phone: (406) 542-8851
FAX: (406) 542-1476
Email: Cyndee.Peterson@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

UNITED STATES OF AMERICA,                    CR 18-23-M-DLC

             Plaintiff,                      OFFER OF PROOF

     vs.

WILLIAM DALE NEWHOFF, JR.,

             Defendant.

      Defendant William Dale Newhoff, Jr., has signed a plea agreement pursuant

to Rule 11(c)(1)(A) and (B) which contemplates his plea of guilty to count I of the

indictment. The plea agreement will be filed today. Count I charges the crime of

Prohibited Person in Possession of Firearm, in violation of 18 U.S.C. § 922(g)(1).


                                         1
           Case 9:18-cr-00023-DLC Document 16 Filed 07/24/18 Page 2 of 4



The defendant will also admit the forfeiture allegation. The defendant’s plea of

guilty will be unconditional.

         The United States presented any and all formal plea offers to the defendant in

writing. The plea agreement entered into by the parties and filed with the court

represents, in the government's view, the most favorable offer extended to the

defendant. See Missouri v. Frye, 132 S.Ct. 1399 (2012).

         ELEMENTS. In order to prove the charge against the defendant at trial, the

United States would have to prove the following elements beyond a reasonable

doubt:

Count I:

         First, the defendant knowingly possessed a firearm, namely a Hi-Point
         Firearms, Model C9, 9mm Luger pistol, serial number obliterated; and
         Second, the firearm identified above had been shipped and transported from
         one state to another; and
         Third, at the time the defendant possessed the firearm identified above, the
         defendant had been convicted in a court of a crime punishable by
         imprisonment for a term exceeding one year.

Forfeiture:
         The defendant must also forfeit the Hi-Point Firearms, Model C9, 9mm
         Luger pistol and any ammunition as it was involved in a knowing violation of
         count I.
         PROOF. If called upon to prove this case at trial, and to provide a factual

basis for the defendant’s plea, the United States would present, by way of the
                                            2
         Case 9:18-cr-00023-DLC Document 16 Filed 07/24/18 Page 3 of 4



testimony of law enforcement officers, lay and expert witnesses, and physical

evidence, the following:

      In March 2009, Defendant Newhoff was convicted in U.S. District Court,

District of Montana, of two felonies: Felon in Possession of a Firearm, in violation

of 18 U.S.C. § 922(g)(1); and Possession of a Stolen Firearm, in violation of 18

U.S.C. § 922(j).

      In January 2018, Defendant Newhoff was a federal fugitive. On January 30,

2018, the Missoula County Sheriff’s Office located Newhoff in East Missoula, and

informed the U.S. Marshal of his location. After a high-speed chase and extensive

search, Newhoff was located in a trailer house in Missoula County. When law

enforcement located Newhoff standing behind a door, he was holding a Hi-Point

Firearms, Model C9, 9 mm Luger pistol, and had ammunition in his jacket pocket.

Newhoff was arrested without incident.

      In March 2018, ATF agents determined the Hi-Point Firearms, Model C9,

9mm Luger pistol was a firearm and was not manufactured in Montana.

      DATED this 24th day of July, 2018.

                                       KURT G. ALME
                                       United States Attorney

                                       /s/ Cyndee L. Peterson
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff
                                          3
           Case 9:18-cr-00023-DLC Document 16 Filed 07/24/18 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on July 24, 2018, a copy of the foregoing

document was served on the following persons by the following means:

      (1)           CM/ECF
      ()            Hand Delivery
      ()            U.S. Mail
      ()            Overnight Delivery Service
      ()            Fax
      ()            E-Mail

      1)      Eric R. Henkel
              Attorney for Defendant Newhoff



                                      /s/ Cyndee L. Peterson
                                      Assistant U.S. Attorney
                                      Attorney for Plaintiff




                                         4
